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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                         §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §
                                                  §     CIVIL ACTION NO. 3:19-cv-00764-L
LESLIE A. WULF, BRUCE A. HALL,                    §
JAMES REA, JOHN E. REA, and KEITH                 §
DRIVER                                            §
                                                  §
        Defendant.                                §

     DEFENDANT KEITH DRIVER’S RESPONSE TO VEROBLUE FARMS USA, INC.’S
           MOTION FOR LEAVE TO AMEND ITS AMENDED COMPLAINT
                         AND BRIEF IN SUPPORT

          Defendant Keith Driver (“Driver or “Defendant”) hereby files this Response to VeroBlue

 Farms USA, Inc.’s (“Plaintiff”) Motion for Leave to Amend its Amended Complaint and Brief in

 Support [Dkt. No. 102] and respectfully shows as follows.

                                                 I.

                                PRELIMINARY STATEMENT

         Plaintiff’s proposed amendment is futile and should be denied. Plaintiff seeks leave to

 assert additional claims against Driver for violations of the Uniform Voidable Transfers Act (Iowa

 Code §684.4(1)(a)), fraudulent transfers under Texas law, constructive fraudulent transfers under

 Texas law, restitution, violations of Racketeer Influenced and Corrupt Organizations Act

 (“RICO”), and claims for rescission of Driver’s Termination Agreement (collectively, the

 “Proposed New Claims”). The Motion should be denied because, among other things, the Proposed

 New Claims are frivolous, implausible, and barred by the same release in the Release Agreement

 that bars the claims brought in Plaintiff’s Original Complaint [Dkt. No. 009] (“Original



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Complaint”). Accordingly, Plaintiff’s Proposed New Claims cannot survive Driver’s live 12(b)(6)

Motion to Dismiss and Brief in Support, filed on April 10, 2019 [Dkt. Nos. 67 and 68]. Allowing

Plaintiff leave to file its Amended Complaint will only force Driver to file a third motion to dismiss

to enforce the release in Driver’s Release Agreement both Plaintiff and Driver entered into

willingly and voluntarily to settle all claims known and unknown to the parties at the time.

Plaintiff’s thinly-veiled attempt to harass Driver through making additional meritless claims to

distract the Court from the clearly enforceable release contained in the Release Agreement should

not be tolerated, and its Motion for Leave to Amend should thus be denied.

                                                 II.

                           RELEVANT FACTUAL BACKGROUND


Driver’s Employment with Plaintiff.

        1. Prior to July 1, 2016, Driver performed services for Plaintiff as a designated

representative of Seven Hours Holding Company, Inc., an independent contractor of Plaintiff’s.

(App. 0033). On July 1, 2016, Plaintiff and Driver entered into an Employment Agreement,

terminating Driver’s role as an independent contractor and putting him into the position of Chief

Operating Officer of Plaintiff. (App. 0033-0048).

        2. Driver’s stint as COO of Plaintiff, however, was very brief — only six months. On

January 13, 2017, Plaintiff and Driver entered into a Business Relationship Restructuring

Agreement (the “Release Agreement”), which terminated Driver’s Employment Agreement with

Plaintiff and re-established his consulting relationship with the company. (App. 0049-0063). Thus,

Driver was only an employee of Plaintiff for six months, yet Plaintiff seems to assert that Plaintiff

was involved in numerous schemes allegedly performed by Plaintiff’s officers during times that

Driver was not employed with the company and owed no duty to Plaintiff.


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        3. Additionally, as a part of the Release Agreement, Plaintiff agreed to the following:




(App. 0052). Thus, Plaintiff released Driver from all causes of actions, known or unknown, as of

January 13, 2017. (App. 0052).

       4.      The proposed Second Amended Complaint fails to allege any actions by Driver

after January 13, 2017 that gives rise to a cause of action. Even though Plaintiff attempts to lump

Driver under the definition of “Founders,” his participation in any post-release actions are factually

impossible since Driver was no longer involved with Plaintiff at that time in any capacity that

would have any control, decision-making authority, or even notice of these activities. At the time

all of the alleged post-release actions were taken, Driver was not an officer or director of Plaintiff,

was merely acting as a consultant to Plaintiff, owed no duties to Plaintiff, and was not involved in

the actions. (App. 0031-33).

The Release Agreement was Not Procured by Fraud and, Regardless, is Valid and
Enforceable.

       5.      Plaintiff makes a baseless and bad faith accusation that the Release Agreement is

invalid because Jackson Walker was purportedly “conflicted” when drafting the Release

Agreement. Jackson Walker was not conflicted when drafting Driver’s Release Agreement. In fact,

Driver was represented by Jay Wallace of Bell Nunnally & Martin, LLP in the negotiations of the

Release Agreement. (App. 0066).        Plaintiff made this allegation of an alleged conflict without

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citing any evidence or, apparently, checking with Jackson Walker. This allegation was apparently

invented solely as a grounds for attempting to avoid the unambiguous release of all claims against

Driver.

                                                     III.

                              ARGUMENTS AND AUTHORITIES


A.        Applicable Legal Standard Governing Motions for Leave to Amend.

          Motions for leave to amend are governed by Federal Rule of Civil Procedure 15(a), which

provides that leave to amend be granted “when justice so requires.” FED. R. CIV. P. 15(a)(2).

However, “[l]eave to amend is not automatic.” Jones v. Robinson Prop. Grp., L.P., 427 F.3d 987,

994 (5th Cir.2005) (emphasis added). The Court “may consider a variety of factors” when

deciding whether to grant leave to amend, “including undue delay, bad faith or dilatory motive on

the part of the movant, repeated failures to cure deficiencies by amendments previously allowed,

undue prejudice to the opposing party by virtue of allowance of the amendment, and futility of the

amendment.” Jones, 427 F.3d at 994. The Fifth Circuit has interpreted “futility” in the context of

Rule 15 to mean that “the amended complaint would fail to state a claim upon which relief could

be granted.” Stripling v. Jordan Prod. Co., 234 F.3d 863, 873 (5th Cir. 2000). To determine

futility, the Court must apply the same standard as applies under Rule 12(b)(6). Jackson v.

Deutsche Bank Nat. Trust Co., 3:14-CV-3695-N, 2015 WL 3403937, at *3–4 (N.D. Tex. May 26,

2015).

B.        Plaintiff Has Failed To Allege Any Valid Basis For Seeking Leave To Assert New
          Causes of Action Against Driver, Which Are Brought In Bad Faith And Are Futile.

          Plaintiff’s request for leave to assert new claims against Driver should be denied because

the proposed claims are non-sensical, futile, and could not survive Driver’s live Motion to Dismiss

or a future motion to dismiss. See Stripling, 234 F.3d at 873 (interpreting “futility” in the context

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of Rule 15 to mean that “the amended complaint would fail to state a claim upon which relief could

be granted”).

       Plaintiff’s claims are entirely futile as they are barred by the Release Agreement. It is

black-letter Texas law that a release extinguishes a claim or cause of action and is an absolute bar

to any right of action on the released matter. D.R. Horton-Texas, Ltd. v. Savannah Properties

Associates, L.P., 416 S.W.3d 217, 226 (Tex. App.—Fort Worth 2013, no pet.) (citing Dresser Indus.,

Inc. v. Page Petroleum, Inc., 853 S.W.2d 505, 508 (Tex. 1993); see also Keck, Mahin & Cate v. Nat'/

Union Fire Ins. Co. of Pittsburgh, Pa., 20 S.W.3d 692, 698 (Tex. 2000); Victoria Bank & Trust Co.

v. Brady, 811 S.W.2d 931, 938 (Tex. 1991); Nat'/ Union Fire Ins. Co. of Pittsburgh, Pa. v. Ins. Co.

of N. Am., 955 S.W.2d 120, 127 (Tex. App.—Houston [14th Dist.] 1997), affd, 20 S.W.3d 692

(Tex. 2000). It is not necessary, however, for the parties to anticipate and explicitly identify every

potential cause of action relating to the subject matter of the release. Savannah, 416 S.W.3d at 226.

Although releases include claims existing at the time of execution, they may also include unknown

claims and damages that develop in the future. Id.

       Here, the Release Agreement specifically states that as of January 7, 2017, Plaintiff:

       hereby irrevocably and unconditionally release, acquit and forever discharge
       [Driver] from any and all charges, complaints, claims, liabilities, obligations,
       promises, agreements, controversies, damages, actions, causes of action, suits,
       rights, demands, costs, losses, known or unknown . . . which the [Plaintiff]
       Releasees now have, own, hold, or to which the [Plaintiff] Releasees at any time
       heretofore had, owned, or held against [Driver], including, without limitation, the
       Egregious Cause Claims.

(App. 0052). “Egregious Cause Claims” is narrowly defined as Driver failing to maintain his main

office in Dallas, Texas and Driver engaging in “other business interests and engagements outside

of [Plaintiff]. (App. 0049). The broad language chose by the parties establishes the intent for the

Release Agreement to be complete, full, and final. Therefore, the Release Agreement precludes all



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claims Plaintiff has asserted against Driver in this case, including the Egregious Cause Claims, not

just the Egregious Cause Claims. See, e.g., D.R. Horton-Texas, 416 S.W.3d at 227 (holding that

release of "all past, present, or future claims, actions, demands, and causes of action, of whatever

kind or character, known or unknown, asserted or unasserted" with respect to certain contracts and

property barred claims for breach of contract, warranty, and negligence relating to the same

contracts and property).

       Out of all the vague allegations taken by the Founders, Plaintiff alleges no facts taken by

Driver after January 13, 2017, the date of the Release Agreement in which Plaintiff and Driver

voluntarily and knowingly released all claims between then, both known and unknown.

        For all alleged facts occurring after January 13, 2017, Driver was not an officer or director

of Plaintiff, was merely acting as a consultant to Plaintiff, owed no duties to Plaintiff, and was not

involved in the actions. In fact, Plaintiff’s Second Amended Complaint pleads no facts or

allegations that even hint at Driver being involved at all in the post-release actions occurring after

January 13, 2017. Accordingly, Plaintiff’s Second Amended Complaint and the Proposed New

Claims are futile because they must be dismissed under Driver’s current Motion to Dismiss or a

future motion.

                                              IV.
                                          CONCLUSION

       For all the foregoing reasons, Defendant Keith Driver respectfully requests that the Court

deny Plaintiff Farms USA, Inc. Motion for Leave to Amend its Amended Answer and grant Keith

Driver all other appropriate relief.




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                                            Respectfully submitted,


                                            By:    /s/ Heath Cheek
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                                            ATTORNEYS FOR DEFENDANT
                                            KEITH DRIVER




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
was served upon counsel of record for all parties via ECF Service.

       DATED this 13th day of June, 2019.

                                                   /s/ Heath Cheek


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